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                                   In the
                United States Court of Appeals
                        For the Eleventh Circuit

                          ____________________

                                No. 23-12155
                          ____________________

       AUGUST DEKKER,
       a.k.a. Kori Dekker,
       BRIT ROTHSTEIN,
       SUSAN DOE,
       A Minor by Her Parents and Next Friends,
       JANE DOE,
       On Behalf of Susan Doe,
       JOHN DOE,
       A Parent on Behalf of Susan Doe, et al.,
                                                     Plaintiﬀs-Appellees,
       versus
       FLORIDA AGENCY FOR HEALTH CARE
       ADMINISTRATION,
       SECRETARY, FLORIDA AGENCY FOR HEALTH CARE
       ADMINISTRATION,
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       2                       Order of the Court                 23-12155

                                                   Defendants- Appellants,


       SIMONE MARSTILLER,
       In Her Capacity as Secretary AHCA, et al.,


                                                               Defendants.


                            ____________________

                 Appeal from the United States District Court
                     for the Northern District of Florida
                  D.C. Docket No. 4:22-cv-00325-RH-MAF
                          ____________________

       ORDER:
              The parties are DIRECTED to ﬁle supplemental
       briefs addressing the following issue:

             Does the invidious-discrimination analysis associated
       with Washington v. Davis, 426 U.S. 229 (1976), and Personnel
       Administrator of Massachusetts v. Feeney, 442 U.S. 256 (1979),
       apply only to “suspect” and “quasi-suspect” classes like race
       and sex, or does it apply more broadly?

             The briefs should be no more than 10 pages in length
       and should be ﬁled on or before November 6, 2024.
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       23-12155            Order of the Court                      3




                                                   DAVID J. SMITH
                                  Clerk of the United States Court of
                                    Appeals for the Eleventh Circuit

                    ENTERED FOR THE COURT - BY DIRECTION
